
WHITE, J-,
stated the Case, and delivered the resolution of the Court:
At a Court of Oyer and Terminer, held by the Justices of Hampshire county, on the 18th November, 1822, for the trial of Peter, a slave, for the murder of William Poling, he, the said Peter, was convicted of the murder, and sentenced to be hung, but the execution has been respited by the Executive until a day yet to come.
At the last Superior Court for Hampshire, the said Peter applied for a Writ of Error, with a view to reverse the judgment, which application was over-ruled, and the Writ refused. A petition is now presented to this Court, praying *for a Writ of Error from this Court to the last mentioned judgment.
This application is certainly novel, and involves in it considerations of a grave and important kind ; which, however, need not now be .enlarged upon, because the Court has been necessarily led to consider whether the Legislature, in framing the Law under which this conviction took place, did, or did not, intend that the judgment of these Courts of Oyer and Terminer should be submitted to the revision and correction of any other Legal Tribunal. And the Judges, upon an inspection and consideration of the Law itself, are unanimously of opinion, that it did not so intend, and that the only relief which that Law leaves to the convict, is to be sought from the Executive, for whose aid, in applying the attribute of mercy to such cases, the 40th section of the same law has made provision.
This opinion of the Court, growing out of an examination of the Law itself, is strongly fortified by the reflection, that although this Law has, with very little change, been in operation in Virginia for at least a century and a half, it is believed that this is the first application of the kind which has ever been made. The Court refuses to award the Writ.
